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PATTY 0. WEERS
CLERK GF THE DIST. COURT

DIANE ASH

IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT
OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF NEZ PERCE

CRAIG WHITE and BETHANY WHITE,
husband and wife,

Plaintiffs,
Vv.

QUICKSILVER AIR, INC., an Alaska
corporation, THE TIMKEN COMPANY, an
Ohio Corporation, doing business as TIMKEN
ALCOR AEROSPACE TECHNOLOGIES,
INC., a foreign Arizona Company; H.E.R.OS.,
INC., a California corporation, ARROW
AVIATION, LLC, a Louisiana Limited
Liability Company; 11 AEROSPACE LLC, an
Arizona Limited Liability Company, doing
business as AS] SERVICES; RICHARD C.
SWISHER; JOHN OR JANE DOES 1-X; and
DOE CORPORATIONS XI-XX;

Defendants.

 

 

AMENDED COMPLAINT -- |
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NO. CV12-00009

AMENDED COMPLAINT

Aherin, Rice & Anegon
Attorneys at Law
Lewiston, Idaho
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COME NOW the plaintiffs by and through their attorney, Darrel W. Aherin of Aherin,

Rice & Anegon, and for a cause of action against the defendants hereby allege and complain as

follows:
I.

The plaintiffs, at all times pertinent herein, were husband and wife and resided in the
County of Canyon, City of Nampa, State of Idaho.
Il.
The defendant, Quicksilver Air, Inc., is and at all times material herein, was an Alaska

corporation, doing business in the State of Idaho.
Il.

The defendant, The Timken Company, an Ohio corporation, is and at all times was doing

business as Alcor Aerospace Technologies, Inc., an Arizona foreign corporation.

IV.
The defendant, H.E.R.O.S., Inc., is and at all times material herein, was a California
corporation.
V.
The defendant, Arrow Aviation, LLC, is and at all times material herein, was a Louisiana

limited liability company. If this is not the proper entity for Arrow Aviation, plaintiffs reserve

the right to amend this Complaint.
VI.

The defendant, 11 Aerospace LLC, an Arizona Limited Liability Company, is and at all
times was doing business as ASI Services.
VIL.
The defendant, Richard Swisher, is an Alaska resident, residing in Fairbanks, Alaska, but

residing in Idaho at all material times herein.
VII.
Plaintiffs allege John and Jane Does I-X and Doe Corporations XI-XX, whose true names

are not known, were involved in this matter and upon discovery of the names, the plaintiffs will

amend the Amended Complaint.

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IX.

On January 8, 2010, plaintiff, Craig White, was a passenger in a helicopter owned and
operated by defendant, Quicksilver Air, Inc. The pilot was Richard Swisher, one of the principal
owners of Quicksilver Air, Inc.

X.

The helicopter that plaintiff, Craig White, was in on January 8, 2010 was a Hughes 369D.
Repairs to the helicopter were performed by Arrow Aviation and ASI Services. The part that
failed was manufactured by Timken Alcor Aerospace Technologies, Inc. .

XI.

The defendant, Richard Swisher, individually and as the owner of Quicksilver Air, Inc.,
failed to inspect the engine when a warning light came on. The pilot operating handbook was
violated by Swisher failing to inspect the cause of the warning light coming on. Because the
pilot failed to follow the handbook, the aircraft crashed. The cause of the engine failure was
from a defective part and/or defective installation.

XII.

As a direct and proximate result of the collision, plaintiff, Bethany White, has sustained a.
loss of consortium as a result of the injuries sustained by plaintiff, Craig White, in an amount to
be proven at trial.

XIII.

Plaintiffs’ damages exceed the amount of $10,000.00.

XIV.

If the plaintiffs discover the conduct of the defendants was an extreme deviation from
reasonable standards, the plaintiffs will seek an order from the court to amend this Amended
Complaint to seek punitive damages.

XV.

The plaintiffs have hired an attorney, namely Darrel W. Aherin of Aherin, Rice &

Anegon, to prosecute this matter.

WHEREFORE, plaintiffs pray for judgment against the defendants and each of them, as

follows:
FIRST: For all past and future medical expenses and for all past and future

economic losses;

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SECOND:  Forall past and future pain and suffering, loss of enjoyment of life and all
general damages;

THIRD: For damages compensating plaintiff, Bethany White, for loss of
consortium in an amount to be proven at trial

FOURTH: _ Forall compensatory damages caused by defendants’ conduct;

FIFTH: If defendants’ conduct was an extreme deviation from reasonable
standards, plaintiffs may seek an order of the court allowing them to amend this Amended
Complaint to include a claim for punitive damages;

SIXTH: For costs and disbursements including attorney fees necessarily expended
in bringing this action; and

SEVENTH: For such other and further relief as the Court may deem just and equitable

in the premises.

DATED this Ut aay of June, 2012.
AHERIN, RICE & ANEGON

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Darrel W. Aherin
Attorney for Plaintiffs

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